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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

                                                   )
STATE OF NEW YORK, ET AL.,                         )
                                                   )
       Plaintiffs,                                 )
                                                   )
                v.                                 )
DONALD J. TRUMP, in his official capacity          )
as President of the United States, et al.,         )   Case No. 25-cv-11221-
                                                   )   WGY
       Defendants.                                 )
                                                   )
                                                   )
                                                   )
                                                   )
                                                   )
                                                   )
                                                   )
                                                   )

                       DECLARATION OF JESSICA STROMBERG

       I, Jessica Stromberg, declare as follows:

       1.      I am the Acting Associate Director of the Office of Renewable Energy Programs

(OREP) within the Department of the Interior’s (DOI) Bureau of Ocean Energy Management

(BOEM). OREP is responsible for the issuance of renewable energy leases and the review and

approval of site assessment plans (SAPs) and construction and operations plans (COPs) on the

Outer Continental Shelf. I have served as the Acting Associate Director of BOEM OREP since

May 1, 2025. Prior to that I served as the Chief of the Environment Branch for Renewable

Energy within OREP.

       2.      Under the Outer Continental Shelf Lands Act, 43 U.S.C. § 1331 et seq. (OCSLA),

DOI is responsible for the administration of energy and mineral exploration and development on

the Outer Continental Shelf. The responsibilities for issuing renewable energy leases and

associated easements and rights-of-way under OCSLA and its implementing regulations at 30

C.F.R. Pt. 585 have been delegated to BOEM. The process by which BOEM fulfills these

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responsibilities is summarized in BOEM’s December 2016 publication titled A Citizen’s Guide to

the Bureau of Ocean Energy Management’s Renewable Energy Authorization Process, a true and

correct copy of which is attached as Exhibit A. While BOEM’s regulations provide for certain

administrative time periods during this process—such as 30 C.F.R.§ 585.102(c)’s requirement

that BOEM document in writing any oral directive within 10 business days; § 585.211(a)’s

requirement for a 45-day comment period for information and nominations for leasing; and

§585.211(c)’s requirement of a 60-day comment period following a proposed lease sale—neither

BOEM’s regulations nor OCLSA attach any mandatory time periods for completion for any of

BOEM’s review or decision on activities on a lease or for a lessee to receive approval of those

activities.

        3.     As part of my duties as Acting Associate Director of OREP, I supervise staff who

conduct the review of COPs and other plans for activities on outer continental shelf (OCS)

renewable energy leases, manage the procedure for complying with various environmental review

statutes, coordinate the review of submissions to BOEM from lessees pursuant to conditions of

approval, process lease adjudication issues such as lease assignments, provide technical support to

the Bureau of Safety and Environmental Enforcement (BSEE) regarding their reviews of plans

submitted under already approved COPs, and generally manage other responsibilities in

compliance with OCSLA.

        4.     On January 20, 2025, President Trump issued a Presidential Memorandum titled

Temporary Withdrawal of All Areas on the Outer Continental Shelf from Offshore Wind Leasing

and Review of the Federal Government’s Leasing and Permitting Practices for Wind Projects

(Wind Memo).

        5.     Section 2(a) of the Wind Memo directed several agencies, including DOI, to “not

issue new or renewed approvals, rights of way, permits, leases, or loans for onshore or offshore
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wind projects pending the completion of a comprehensive assessment and review of Federal wind

leasing and permitting practices.” Further, Section 2(a) of the Wind Memo directed DOI to lead

that assessment and include the consideration of “the environmental impact of onshore and

offshore wind projects upon wildlife, including, but not limited to, birds and marine mammals”

and “the economic costs associated with the intermittent generation of electricity and the effect of

subsidies on the viability of the wind industry.”

       6.      OREP posted a notice on BOEM’s renewable energy lease and grant information

web page stating “[t]he Department of the Interior and BOEM are implementing President Trump’s

memorandum temporarily halting offshore wind leasing on the Outer Continental Shelf. The

memorandum also pauses new or renewed approvals, rights-of-way, permits, leases, or loans for

offshore wind projects pending a review of federal wind leasing and permitting practices.” A true

and correct copy of the webpage with this notice is attached as Exhibit B.

       7.       OREP staff continue to review applications and complete other day-to-day tasks

related to the offshore wind program including but not limited to regular communications with

lessees, State officials, and cooperating agencies to provide information about OREP’s review of

applications and to answer questions about the Wind Memo and processing of COPs and other

submissions required by already approved COPs.

       8.      An example of these day-to-day tasks includes the processing of public comments

submitted to OREP on the Vineyard Mid-Atlantic Notice of Intent to prepare an Environmental

Impact Statement (EIS) in lieu of the postponed virtual public meeting. A true and correct copy of

the notice postponing the Vineyard Mid-Atlantic virtual public meeting is attached as Exhibit C. I

am also aware that the Pacific Regional Office has processed comments submitted on the

California Offshore Wind Programmatic EIS in lieu of the postponed virtual public meeting. A

true and correct copy of the notice postponing the California Offshore Wind Programmatic EIS

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virtual public meeting is attached as Exhibit D.

       9.      OREP also updated the FAST-41 permitting dashboard for the SouthCoast Wind

project to reflect September 23, 2025, as a revised estimated completion date of environmental

review and permitting. Work on those items is ongoing. SouthCoast Wind has not engaged

BOEM in the dispute resolution process provided by the FAST Act on this or any other aspect of

project development.

       10.     Day-to-day work is also continuing for the Bluepoint Wind project, and BOEM’s

processing of the COP for this project is continuing on schedule. While DOI prepared a

coordinated project plan in compliance with the FAST Act, DOI delayed, however, submission of

the FAST-41 coordinated project plan and permitting timetable for the Bluepoint Wind project to

the Permitting Council until completion of the assessments called for in the Wind Memo.

Bluepoint Wind has not engaged BOEM in the dispute resolution process provided by the FAST

Act on this or any other aspect of project development.

       11.     Day-to-day work is also continuing for the Empire Wind Project. Attached as

Exhibit E is a true and correct copy of the May 19, 2025, amendment to the April 16, 2025

Director’s Order to lift the halt on activities for the Empire Wind Project.



       I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct.

Executed this 29th day of May, 2025
                                                                   Digitally signed by
                                               JESSICA   JESSICA STROMBERG
                                               STROMBERG Date: 2025.05.29
                                                         16:21:53 -04'00'
                                              Jessica Stromberg
                                              Acting Associate Director
                                              BOEM, Office of Renewable Energy Programs


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                                   EXHIBIT A
   A Citizen’s Guide to the Bureau of Ocean Energy Management's Renewable Energy
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                        A Citizen’s Guide
                        TO THE BUREAU OF OCEAN ENERGY MANAGEMENT’S
                            RENEWABLE ENERGY AUTHORIZATION PROCESS

                                                     December 2016
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                                 Overview
                                 This guide is intended to help the public understand the
                                 Bureau of Ocean Energy Management’s (BOEM) process
                                 for overseeing renewable energy projects on the Outer
                                 Continental Shelf (OCS) and to highlight opportunities for
                                 public involvement.


                                 About BOEM
                          BOEM is the Bureau within the U.S. Department of the
                          Interior responsible for managing development of the
                          nation’s offshore energy resources in an environmentally
                          and economically responsible way. BOEM promotes energy
                          independence, environmental protection, and economic
      development through responsible, science-informed management of offshore
      energy resources.


      Introduction
      The United States is experiencing increased interest in the development of marine
      energy projects using wind, wave, and ocean current technologies. These types of
      renewable energy sources can provide densely populated coastal communities
      with a clean source of electrical power while helping to diversify the U.S.
      electrical supply. For additional information on offshore renewable energy
      technology, see BOEM’s “Offshore Renewable Energy Guide” at http://
      www.boem.gov/Offshore-Renewable-Energy-Guide/.

      In 2016, the U.S. Department of Energy (DOE) estimated 10,800 gigawatts
      (GW) of offshore wind energy could be accessed within the 200 nautical miles
      (nm) Exclusive Economic Zone (EEZ) limit. DOE estimates offshore wind energy
      capacity recoverable given current technical capabilities to be 2,058 GW, with
      an energy generation potential almost double the electricity consumption of the
      United States.




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      BOEM’s Regulatory Authority for Renewable Energy Activities
      BOEM is the federal agency responsible for issuing leases, easements, and
      rights-of-way for renewable energy projects on the OCS. The OCS is
      regulated by the Department of the Interior through the Outer Continental
      Shelf Lands Act (OCSLA). The OCS refers to the 3.2 billion acres of Federal
      submerged lands, subsoil, and seabed seaward of submerged lands under
      State jurisdiction, which in most cases begins three nm off the coastline.
      BOEM’s authority to oversee renewable energy development derives from
      amendments to subsection 8(p) of the OCSLA (43 U.S.C. 1337), as set forth in
      section 388(a) of the Energy Policy Act of 2005 (EPAct) (Pub. L. 109-58). The
      Secretary of the Interior delegated authority to BOEM to regulate activities that
      produce or support the production, transportation, or transmission of energy
      from sources other than oil and gas. BOEM published regulations governing its
      renewable energy program in 2009 (30 C.F.R. Part 585). For additional
      information on BOEM’s renewable energy regulatory framework and associated
      guidelines, see http://www.boem/gov/National-and-Regional-Guidelines-for
      Renewable-Energy-Activities/.

      BOEM’s Renewable Energy
      Oversight Process
      Types of Leases and Grants
      A lease is an agreement authorizing the use of a
      designated portion of the OCS for renewable energy
      activities. There are three types of leases:

         1. Commercial lease — for commercial
            activities that generate energy for sale and
            distribution.

         2. Limited lease — for activities that support the production of energy, but do
            not result in the production of electricity for sale or distribution beyond a
            very limited threshold.




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         3. Research lease — reserved solely for States or Federal agencies conducting
            renewable energy research activities on the OCS.

      A developer holding a lease is referred to as a lessee. A lease is an agreement
      that allows a prospective renewable energy developer to explore, develop, and,
      potentially, produce energy from renewable energy resources. A lease does
      not grant the lessee the right to construct any facilities; rather, the lease grants
      the right to develop a plan for use of the area for BOEM’s review and potential
      approval — a Site Assessment Plan (SAP), Construction and Operations Plan
      (COP), or General Activities Plan (GAP). Activities proposed in a plan are subject
      to BOEM’s approval after thorough environmental and technical reviews are
      conducted.

      BOEM may also issue two types of grants associated with renewable energy projects:

      Right-of-Way (ROW) — A ROW grant authorizes the installation of cables,
      pipelines, and associated facilities that involve the transportation or transmission
      of electricity or other energy produced from a renewable energy project that is not
                                      located on the OCS.

                                           Right-of-Use (RUE) — A RUE grant authorizes
                                           the construction and maintenance of facilities
                                           or installations that support the production,
                                           transportation, or transmission of electricity
                                           or other energy produced from a renewable
                                           energy project in the OCS.

                                      Competitive vs. Non-Competitive Leasing
                                      The Energy Policy Act of 2005 requires that BOEM
      issue leases and grants on a competitive basis, unless it determines that there is no
      competitive interest in the proposed lease or grant. When only one developer has
      indicated interest in developing a given site, BOEM may issue a lease or grant non-
      competitively. If multiple developers express interest in leasing a given site, then
      BOEM proceeds with a competitive leasing process, which may ultimately result in a
      lease sale where developers can bid against each other to win the lease or grant.




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     Required Plans for Renewable Energy Activities
       yy Site Assessment Plan (SAP) — The SAP describes
          how the lessee will conduct resource assessment
          activities, such as the installation of meteorological
          towers or buoys, and technology testing during the
          site assessment phase of the commercial lease.
          BOEM must approve the SAP before the lessee can
          install facilities or conduct activities described in
          the SAP.

        yy Construction and Operations Plan (COP) —
           The COP describes how the lessee will construct
           and operate a commercial wind project on a
           commercial lease. The COP includes a description
           of all planned facilities as well as a description of
           proposed construction activities, commercial operations, and conceptual
           decommissioning plans. BOEM must approve the COP before the lessee
           can install facilities or conduct commercial activities described in the COP.

        yy General Activities Plan (GAP) — The GAP describes how the lessee/
           grantee will construct and operate renewable energy facilities on a limited
           lease or ROW/RUE grant. The GAP includes a description of construction
           activities for all planned facilities, associated activities, and conceptual
           decommissioning plans. BOEM must approve the GAP before the lessee can
           install facilities or conduct activities described in the GAP.

     The Leasing Process
     The following charts describe the various renewable energy authorization
     processes, noting opportunities for public involvement, for OCS project proposals.
     For offshore wind energy projects, BOEM has sole jurisdiction and determines
     whether to issue leases and approve projects. For marine hydrokinetic projects
     (such as wave or ocean current), BOEM and FERC have a shared jurisdiction
     where BOEM issues leases and oversees the siting of such projects, and FERC
     issues licenses and approves construction and operation of the projects.




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     Chart 1
     BOEM TYPICAL AUTHORIZATION PROCESS FOR COMMERCIAL WIND
     ENERGY PROJECTS ON THE OUTER CONTINENTAL SHELF: COMPETITIVE
     Note: for illustrative purposes only




            1. BOEM Issues a Request for Interest (RFI) to Determine Competitive Interest in a
                Potential Lease Area (in response to applicant’s lease application)




            2. BOEM Determines Competitive Interest



            3. BOEM Publishes Call for Information and Nominations for interest in commercial
                wind energy leases and a Notice of Intent (NOI) to Prepare an Environmental
                Assessment to support BOEM’s leasing and Site Assessment Plan (SAP)
                decision-making




            4. BOEM Conducts Area Identification to delineate Wind Energy Area




            5. BOEM Conducts National Environmental Policy Act (NEPA) Review and Consultations




         Footnote: there can be some variances to this process (e.g., BOEM may issue a
         call and forgo the RFI stage.


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           6. BOEM Lease Issuance
                 a. BOEM Issues Proposed Sale Notice
                 b. BOEM Issues Final Sale Notice
                 c. BOEM Holds Lease Sale Auction
                 d. BOEM Awards Lease
                    • Applicant cannot begin construction of wind facility until after Step 10



           7. Lessee Submits SAP; BOEM reviews proposed activities and approves, approves with
                modification, or disapproves SAP



           8. If SAP Approved, Lessee Conducts Site Assessment and Submits Construction and
                Operations Plan (COP)




           9. BOEM Conducts NEPA Review and Consultation, Review of COP Activities, and
                Technical Reviews




           10. BOEM Approves COP
                • BOEM reviews Facility Design Report (FDR) and Fabrication and Installation Report (FIR)
                  and may raise objections
                • If all objections resolved, lessee can now begin project development/construction




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     Chart 2
     BOEM TYPICAL AUTHORIZATION PROCESS FOR COMMERCIAL
     WIND ENERGY PROJECTS ON THE OUTER CONTINENTAL SHELF:
     NON-COMPETITIVE
     Note: for illustrative purposes only




            1. BOEM Issues a Request for Interest (RFI) to Determine Competitive Interest in a
                Potential Lease Area (in response to applicant’s lease application)



            2. BOEM Determines No Competitive Interest




            If the applicant submits                           If the applicant submits a
            only a Site Assessment                             Construction and Operations
            Plan (SAP):                                        Plan (COP) or a combined
                                                               COP/SAP:
            3. BOEM and Applicant Negotiate
                Lease Terms and Sign Lease                     3. Applicant Submits
                                                                   a COP or COP/SAP
            4. Lessee Submits a Site Assessment
                                                               4. BOEM Conducts Environmental
                Plan (SAP)
                                                                   Review on COP or COP/SAP
                                                                   Pursuant to NEPA
            5. BOEM Conducts Environmental
                Review Pursuant to National
                Environmental Policy Act (NEPA)



            6. BOEM Approves the SAP

            7. Lessee Submits Construction and
                Operations Plan (COP)




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           8. BOEM Conducts Environmental                    5. BOEM and Applicant Negotiate Lease
                Review on COP Pursuant to NEPA                  Terms and Sign Lease; BOEM
                                                                Approves the COP or COP/SAP
                                                                • BOEM reviews FDR and FIR
                                                                • If approved, lessee can now begin
           9. BOEM Approves COP                                    project development/construction
                • BOEM reviews Facility Design
                  Report (FDR) and Fabrication and
                  Installation Report (FIR)
                • If approved, lessee can now begin
                  project development/construction




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     Chart 3
     BOEM TYPICAL AUTHORIZATION PROCESS FOR MARINE
     HYDROKINETIC (WAVE, CURRENT) PROJECTS (Assumes Use of the
     FERC Integrated Licensing Process)
     Note: for illustrative purposes only



            1. BOEM Issues a Request for Interest (RFI) to Determine Competitive Interest in a
                Potential Lease Area (in response to applicant’s lease application)




            If there is no                               If there is competitive interest:
            competitive interest:                        2. BOEM Conducts Lease Sale
            2. BOEM Publishes a                              a. BOEM Publishes Call for Information and
                Determination of No                             Nominations for Interest in Commercial
                Competitive Interest (DNCI)                     Hydrokinetic Energy Leases and a Notice of
                                                                Intent to Prepare an Environmental
                                                                Assessment to Support BOEM’s Leasing and
                                                                Site Assessment Plan Decision-Making
                                                             b. BOEM Performs Area Identification to
                                                                Delineate Hydrokinetic Energy Area


                                                                • Based on comments gathered in
                                                                   consultation with federal, tribal, state,
                                                                   local governments and others
                                                             c. BOEM Conducts National Environmental
                                                                Policy Act (NEPA) Review and Consultations
                                                             		
                                                             d. BOEM Publishes
                                                                Proposed and Final Sale Notices
                                                             e. BOEM Holds Sale and Evaluates Bids
                                                             f. BOEM Awards Lease
                                                                • Applicant cannot begin construction of
                                                                   hydrokinetic facility until after Step 5



            3. Applicant/Lessee Submits a Site Assessment Plan (SAP)
                to BOEM and Pre-Application Document (PAD) to FERC



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           4. BOEM and FERC Conduct Joint Environmental Review Pursuant to NEPA


                • Applicant/Lessee submits proposed Study Plan to FERC
                • FERC issues Study Plan Determination
                • Applicant/Lessee conducts studies
                • Applicant/Lessee files Preliminary Licensing Proposal and License Application with FERC




          If there is no competitive                           If there is competitive
          interest:                                            interest:
          5. BOEM issues a lease                               5. FERC issues a license;
               and FERC issues a license                           BOEM synchronizes the lease
                                                                   term with FERC license term




                                                                     Continues on next page

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     Chart 4
     RIGHT-OF-WAY GRANT PROCESS FOR NON-COMPETITIVE PROJECTS
     Note: for illustrative purposes only
     In addition to issuing leases, BOEM has the authority to issue Right-of-Way (ROW)
     grants. These ROW grants enable applicants to connect renewable energy installations
     that are not located on the OCS to the electrical grid via transmission lines located on
     the OCS.




            1. Applicant Submits a Right-of-Way (ROW) request



            2. BOEM Issues a Request for Interest (RFI) to
                Determine Competitive Interest in a Potential Grant Area

                                  If there is no competitive interest:



            3. Applicant Submits a                    OR          3. BOEM and the Applicant
                General Activities                                    Negotiate Grant Terms and
                Plan (GAP) to BOEM                                    BOEM Issues the Grant



            4. BOEM Conducts Environmental                        4. Grantee Submits a General
                Review of the GAP, Pursuant                           Activities Plan (GAP) to BOEM
                to the National Environmental
                Policy Act (NEPA)



                                                                  5. BOEM Conducts Environmental
                                                                      Review of the GAP, Pursuant
                                                                      to NEPA




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           5. BOEM and the Applicant                        6. BOEM Approves GAP,
                Negotiate Grant Terms and                      Possibly with Modifications
                BOEM Issues Grant; BOEM
                Approves GAP, Possibly with
                Modifications




       Given the precise geographic nature of ROW grant applications, BOEM finds it
       unlikely that ROW proposals would be overlapping and subject to competition.
       However, if there is competitive interest, BOEM will undertake a competitive
       process for authorizing a ROW grant.




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                                                        Renewable Energy Research and
                                                        Understanding Potential Impacts
                                                 BOEM engages stakeholders and
                                                 members of the public to gather
                                                 available information and identify
                                                 critical data gaps to ensure robust
                                                 analysis of the impacts of proposed
                                                 renewable energy activities on the
                                                 OCS. BOEM’s Environmental Studies
                                                 Program acquires scientific information,
                                                 often through partnerships with states,
      federal agencies, and academic institutions, to inform policy, decision-making
      and resource management. Research covers physical oceanography, atmospheric
      sciences, biology, protected species, social sciences and economics, submerged
      cultural resources, and environmental fates and effects. BOEM is a leading
      contributor to the growing body of scientific knowledge about the nation’s marine
      and coastal environment. This information helps BOEM understand potential
      impacts leasing and development activities could have on the ocean environment,
      leading to responsible management.

      For environmental studies about offshore renewable energy technologies, visit
      BOEM’s website at http://www.boem.gov/Renewable-Energy-Environmental-
      Studies/ and http://www.boem.gov/Studies/ or the U.S. Department of Energy’s
      Pacific Northwest National Laboratory website (http://tethys.pnnl.gov/).


     Stakeholder Engagement and Public Involvement
     Stakeholder engagement is a cornerstone of BOEM’s renewable energy program,
     and the bureau has developed a number of processes to facilitate coordination,
     collaboration, and outreach. BOEM’s Renewable Energy Program focuses on
     providing opportunities for renewable energy development while minimizing and
     mitigating potential conflicts with environmental resources and other ocean users.




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     Intergovernmental Task Forces
     BOEM’s primary mechanism for coordinating with governmental partners is its
     Intergovernmental Renewable Energy Task Forces. These Task Forces consist of
     federally recognized tribes, federal agencies, states, and local governments.
     Through each Task Force, BOEM actively seeks to involve relevant and affected
     governmental entities in the various stages of planning and project review. Though
     Task Forces are government-only bodies, all Task Force meetings are open to the
     public and each meeting is followed by public question-and-answer sessions led
     by BOEM. BOEM has established Task Forces in 14 coastal states to date. Task
     Forces serve as forums to:

        yy Coordinate planning to identify the most appropriate sites for renewable
           energy leasing and development activities.

        yy Provide education about BOEM’s processes and permitting and statutory
           requirements as early in the planning process as possible.

        yy Exchange information about biological and physical resources, ocean uses,
           and priorities.

        yy Discuss BOEM’s renewable energy activities throughout the four phases
           of its process: planning, leasing, site assessment, and construction and
           operations.

     More information about past and future meetings can be found at:
     http://www.boem.gov/Renewable-Energy-State-Activities/.

     Federal Register Notices
     BOEM often solicits public comment during major steps of its
     offshore renewable energy authorization process by publishing
     notices in the Federal Register. At different points in the
     process, BOEM may publish a Request for Interest (RFI), Call for
     Information and Nominations (Call), Notice of Intent (NOI) to
     prepare an Environmental Assessment (EA) or an Environmental
     Impact Statement (EIS), a Proposed Sale Notice (PSN), or a
     Notice of Availability (NOA) of an EA or EIS. When notices
     are published, public comments can be submitted through


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       Regulations.gov, and BOEM has a “one-stop-shop” webpage where it is easy to
       find any notices that are currently open for public comment: http://www.boem.
       gov/Submitting-Comments/.

       National Environmental Policy Act (NEPA) Review
       The National Environmental Policy Act (NEPA) requires federal agencies to
       integrate environmental values into its decision-making processes by considering
       the environmental impacts of proposed actions and reasonable alternatives
       to those actions. The NEPA process is typically documented through either an
       Environmental Assessment (EA) or an Environmental Impact Statement (EIS) and its
       accompanying Record of Decision (ROD), which describes the agency’s rationale
       in its decision-making.

      One of the first steps in the NEPA process—scoping—solicits input from the
      public to inform the environmental analysis. When preparing an EA, the degree
                                                    of public engagement is at the
    Public scoping helps identify issues            agency’s discretion, and is typically
    important to the public, including              scaled appropriately given the
    potential impacts to:                           circumstances of the action.
      yy Archaeological/cultural sites              However, when preparing an EIS,
      yy Fisheries                                  the law requires the agency to
      yy Historic properties                        provide several opportunities for
      yy Migratory species                          public involvement, including a
      yy Native American interests                  public comment period, public
                                                    meetings, and an opportunity
      yy Navigation/maritime commerce
                                                    for public comment on the draft
      yy Protected species (such as marine
          mammals, birds, sea turtles, bats)        and final EISs. There is a 30-day
                                                    waiting period after the publication
      yy Sensitive offshore habitats
                                                    of a Final EIS before the agency
      yy Socioeconomic issues and
          environmental justice                     can publish a ROD, so there is an
                                                    additional opportunity for public
      yy Recreation and tourism
                                                    comment prior to a final agency
       yy Viewshed
       yy Aviation
       yy National security



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     decision during that process. For more
     information about NEPA, visit the Council
     on Environmental Quality’s NEPA Guide:
     https://ceq.doe.gov/nepa/Citizens_
     Guide_Dec07.pdf.

     BOEM’s leasing and plan review
     decisions are subject to NEPA review.
     BOEM requests public comment as part
     of the environmental review process,
     such as during scoping and during the
     preparation of an EA or EIS.

     BOEM solicits feedback to:

        yy Identify key issues to examine;

        yy Determine whether additional studies are necessary to inform BOEM’s
           environmental reviews; and

        yy Determine whether to issue a lease and/or approve a plan, and, if so, which
           mitigation measures to include as lease stipulations or terms and conditions
           of plan approval.

     Other Opportunities for Public Involvement
     There are a variety of opportunities for the public to receive updates about
     BOEM’s offshore renewable energy activities:

        yy Review “Public Engagement Opportunities” on BOEM’s website:
           http://www.boem.gov/Public-Engagement-Opportunities/.

        yy Subscribe to the email list for Stakeholder Announcements:
           http://goo.gl/6knce4.

        yy Read BOEM’s Federal Register notices:
           http://www.boem.gov/Submitting-Comments/.

        yy Sign up for the BOEM Bulletin: http://www.boem.gov/BOEM-Bulletin/.



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         yy Contact BOEM’s External Affairs Liaison: http://www.boem.gov/
            uploadedFiles/External%20Affairs%20Liaison.pdf.

         yy Read BOEM’s Notes to Stakeholders: http://www.boem.gov/
            Notes-to-Stakeholders/.

         yy Review online resources with FAQs, fact sheets, statistics, reports, and
            an online library at http://www.boem.gov/Renewable-Energy/.

         yy Attend NEPA public meetings.

         yy Attend public information meetings, outreach meetings and public
            Q&A sessions.

         yy Attend and observe Intergovernmental Task Force meetings.

         yy Refer to BOEM’s Renewable Energy Program webpage for the most
            up-to-date information on OCS renewable energy activities:
            http://www.boem.gov/Renewable-Energy/.


                                                     BOEM Coordination with
    BOEM has MOUs with the
                                                     Other Agencies
    following federal agencies:
                                                     BOEM has established a number of
      yy Bureau of Safety and
                                                     mechanisms to collaborate with other
         Environmental Enforcement
                                                     agencies. For example, BOEM has
      yy Federal Energy Regulatory                   developed Memoranda of Understanding
         Commission
                                                     (MOUs) with other federal agencies
      yy U.S. Coast Guard                            describing each agency’s roles for reviewing
      yy U.S. Army Corps of Engineers                renewable energy projects on the OCS,
      yy U.S. Department of Defense                  helping to streamline the leasing and
                                                     permitting processes.
      yy U.S. Fish and Wildlife Service
                                            As mentioned previously, BOEM has also
                                            established Intergovernmental Renewable
      Energy Task Forces on a state-by-state basis to coordinate among states, tribes,
      local governments, and relevant federal agencies. At present, BOEM has
      established such Task Forces with Maine, Rhode Island, Massachusetts, New
      York, New Jersey, Delaware, Maryland, Virginia, South Carolina, North Carolina,
      Florida, Oregon, Hawaii, and California.

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                       States with Intergovernmental Task Forces



     For review of specific projects, BOEM establishes cooperating agency agreements
     with federal and state agencies so that the environmental review is complete and
     thorough. BOEM also conducts government-to-government consultation with
     federally-recognized tribes, and coordinates other required consultations pursuant
     to the National Historic Preservation Act, Endangered Species Act, the Magnuson-
     Stevens Fishery Conservation and Management Act, the Clean Water and Clean
     Air Acts, the Migratory Bird Treaty Act, and other important environmental statutes.

     Additional Information
     For additional information, please contact:

           Bureau of Ocean Energy Management
           Office of Public Affairs
           1849 C Street, NW
           Washington, D.C. 20240
           Phone: (202) 208-6474
           BOEMPublicAffairs@boem.gov
           http://www.boem.gov/


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                BUREAU OF OCEAN ENERGY MANAGEMENT
                  1849 C Street, NW, Washington, D.C. 20240
                                (202) 208-6474
                             http://www.boem.gov
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                             EXHIBIT B
                  Lease and Grant Information Webpage
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HOME | RENEWABLE ENERGY | LEASE AND GRANT INFORMATION



Lease and Grant Information
What’s New?
The Department of the Interior and BOEM are
implementing President Trump’s memorandum
temporarily halting offshore wind leasing on the
Outer Continental Shelf. The memorandum also
pauses new or renewed approvals, rights-of-way,
permits, leases, or loans for offshore wind
projects pending a review of federal wind leasing
and permitting practices.

Overview                                                   Interactive BOEM Leases and Planning Areas Maps

Below is a table of leases and grants that BOEM has executed since the inception of its renewable energy
program, links to the necessary administrative forms and studies that have informed BOEM's wind
energy lease sales, and access instructions for the most up-to-date lease information.

To review all up to date lease documents, including the original leases and any lease amendments that
may have occurred after lease execution, please use the Data Center. BOEM, with the Bureau of Safety
and Environmental Enforcement (BSEE) maintains a Data Center containing up-to-date leasing
information including electronic copies of executed leases and grants, and approved administrative
forms (e.g., Assignments, Relinquishments, Bonds). Copies of lease segregations, amendments and other
decisions that affect lease status, ownership, location, terms and/or conditions can also be found on the
Data Center. You can access the Data Center at the following link:
https://www.data.boem.gov/Other/FileRequestSystem/ScanREnLeases.aspx.

To search by Lease Number in the Data Center, use the following query format: "RNNNNN" where R is the
Region and N is the 5 digit lease number. If the lease number is less than five digits, then it should be
proceeded by 0. Example: For Commercial Lease OCS-A 0487, input "A00487" into the "Lease Number"
field. For Commercial Lease OCS-G 37334, input "G37334."

For more information on each lease, including the total acreage of the lease area, refer to the Interactive
BOEM Leases and Planning Areas Maps.

Summary statistics for BOEM's offshore wind competitive auctions are available in this document.
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Lease
                         Authorization                Lease
or       Lease or                         Resource                Lessee or
                         Resource                     Effective                       Status
Grant    Grant Page                       Type                    Grantee
                         Type                         Year
Number

OCS-A    Deepwater       Interim Policy                           Deepwater
                                          Wind        2009                            Expired
0472     Wind            Lease*                                   Wind, LLC

         Fishermen's
                                                                  Fishermen's
OCS-A    Energy of       Interim Policy
                                          Wind        2009        Energy of New       Expired
0473     New Jersey      Lease*
                                                                  Jersey LLC
         LLC

         Bluewater
OCS-A    Wind            Interim Policy                           Bluewater Wind
                                          Wind        2009                            Relinquished
0474     Delaware        Lease*                                   Delaware LLC
         LLC

         Bluewater
                                                                  Bluewater Wind
OCS-A    Wind New        Interim Policy
                                          Wind        2009        New Jersey          Relinquished
0475     Jersey Energy   Lease*
                                                                  Energy LLC
         LLC

OCS-A                    Commercial                               Cape Wind
         Cape Wind                        Wind        2010                            Relinquished
0478                     Lease*                                   Associates, LLC

OCS-A                    Commercial
         GSOE I                           Wind        2012        GSOE I, LLC         Active
0482                     Lease*

         Coastal
         Virginia                                                 Virginia Electric
OCS-A                    Commercial
         Offshore                         Wind        2013        and Power           Active
0483                     Lease*
         Wind                                                     Company
         Commercial

OCS-A    Revolution      Commercial                               Revolution
                                          Wind        2013                            Active
0486     Wind            Lease*                                   Wind, LLC

OCS-A                    Commercial                               Sunrise Wind
         Sunrise Wind                     Wind        2013                            Active
0487                     Lease*                                   LLC

OCS-A                    Commercial
         US Wind                          Wind        2014        US Wind Inc.        Consolidated
0489                     Lease*

OCS-A                    Commercial
         US Wind                          Wind        2014        US Wind Inc.        Active
0490                     Lease*
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Lease
                        Authorization                    Lease
or       Lease or                        Resource                    Lessee or
                        Resource                         Effective                      Status
Grant    Grant Page                      Type                        Grantee
                        Type                             Year
Number

         Florida
                                                                     Florida Atlantic
         Atlantic                        Marine
OCS-A                   Research                                     University
         University                      Hydrokinetic    2014                           Relinquished
0495                    Lease                                        Board of
         Board of                        Wind
                                                                     Trustees
         Trustees

         Coastal
         Virginia                                                    Virginia
OCS-A                   Research
         Offshore                        Wind            2015        Department of      Active
0497                    Lease*
         Wind Pilot                                                  Energy
         Project

OCS-A    Ocean Wind     Commercial                                   Ocean Wind
                                         Wind            2016                           Active
0498     1              Lease                                        LLC

                                                                     Atlantic Shores
                                                                     Offshore Wind
OCS-A    Atlantic       Commercial                                   Project 1, LLC;
                                         Wind            2016                           Active
0499     Shores South   Lease                                        Atlantic Shores
                                                                     Offshore Wind
                                                                     Project 2, LLC

OCS-A    Bay State      Commercial                                   Bay State Wind
                                         Wind            2015                           Active
0500     Wind           Lease                                        LLC

OCS-A    Vineyard       Commercial                                   Vineyard Wind
                                         Wind            2015                           Active
0501     Wind 1         Lease                                        1 LLC

         sea2shore:                                                  The
OCS-A    The            Right of Way                                 Narragansett
                                         Wind            2014                           Active
0506     Renewable      Grant                                        Electric
         Link                                                        Company

OCS-A    Kitty Hawk     Commercial                                   Kitty Hawk
                                         Wind            2017                           Active
0508     North          Lease                                        Wind, LLC

                                                                     Empire
OCS-A                   Commercial
         Empire Wind                     Wind            2017        Offshore Wind      Active
0512                    Lease
                                                                     LLC

OCS-A    South Fork     Commercial                                   South Fork
                                         Wind            2020                           Active
0517     Wind           Lease                                        Wind, LLC
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Lease
                        Authorization               Lease
or       Lease or                       Resource                Lessee or
                        Resource                    Effective                     Status
Grant    Grant Page                     Type                    Grantee
                        Type                        Year
Number

                                                                Skipjack
OCS-A                   Commercial
         Skipjack                       Wind        2018        Offshore          Active
0519                    Lease*
                                                                Energy, LLC

OCS-A                   Commercial                              Beacon Wind
         Beacon Wind                    Wind        2019                          Active
0520                    Lease                                   LLC

                                                                SouthCoast
OCS-A    SouthCoast     Commercial
                                        Wind        2019        Wind Energy       Active
0521     Wind           Lease
                                                                LLC

OCS-A    Vineyard       Commercial                              Vineyard
                                        Wind        2019                          Active
0522     Northeast      Lease                                   Northeast LLC

OCS-A    Sunrise Wind   Commercial                              Sunrise Wind
                                        Wind        2015                          Consolidated
0530     LLC            Lease                                   LLC

OCS-A    Ocean Wind     Commercial                              Orsted North
                                        Wind        2016                          Active
0532     2              Lease                                   America Inc.

OCS-A    New England    Commercial                              Park City Wind
                                        Wind        2015                          Active
0534     Wind 1         Lease                                   LLC

OCS-A    Bluepoint      Commercial                              Bluepoint
                                        Wind        2022                          Active
0537     Wind           Lease                                   Wind, LLC

OCS-A    Attentive      Commercial                              Attentive
                                        Wind        2022                          Active
0538     Energy         Lease                                   Energy LLC

         Community                                              Community
OCS-A                   Commercial
         Offshore                       Wind        2022        Offshore Wind,    Active
0539                    Lease
         Wind                                                   LLC

         Atlantic                                               Atlantic Shores
OCS-A                   Commercial
         Offshore                       Wind        2022        Offshore Wind     Active
0541                    Lease
         Wind                                                   Bight, LLC

OCS-A    Invenergy      Commercial                              Invenergy Wind
                                        Wind        2022                          Active
0542     Wind           Lease                                   Offshore LLC

OCS-A    Vineyard       Commercial      Wind        2022        Vineyard Mid-     Active
0544     Mid-Atlantic   Lease                                   Atlantic LLC
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Lease
                         Authorization                Lease
or       Lease or                         Resource                Lessee or
                         Resource                     Effective                       Status
Grant    Grant Page                       Type                    Grantee
                         Type                         Year
Number
         LLC

         TotalEnergies
                                                                  TotalEnergies
OCS-A    Carolina        Commercial
                                          Wind        2022        Carolina Long       Active
0545     Long Bay,       Lease
                                                                  Bay, LLC
         LLC

OCS-A                    Commercial
         Cinergy Corp                     Wind        2022        Cinergy Corp        Active
0546                     Lease

                                                                  Atlantic Shores
OCS-A    Atlantic        Commercial
                                          Wind        2022        Offshore Wind,      Active
0549     Shores North    Lease
                                                                  LLC

OCS-A    State of        Research
                                          Wind        2024        State of Maine      Active
0553     Maine           Lease*

OCS-A    Central         Commercial                               Equinor Wind
                                          Wind        2024                            Active
0557     Atlantic        Lease                                    US, LLC

OCS-A    Central         Commercial                               Virginia Electric
                                          Wind        2024                            Active
0558     Atlantic        Lease                                    and Power Co.

OCS-A    New England     Commercial                               Commonwealth
                                          Wind        2024                            Active
0561     Wind 2          Lease                                    Wind, LLC

                                                                  Invenergy NE
OCS-A    Gulf of         Commercial
                                          Wind        2024        Offshore Wind,      Active
0562     Maine           Lease
                                                                  LLC

                                                                  Avangrid
OCS-A    Gulf of         Commercial
                                          Wind        2024        Renewables,         Active
0564     Maine           Lease
                                                                  LLC

                                                                  Invenergy NE
OCS-A    Gulf of         Commercial
                                          Wind        2024        Offshore Wind,      Active
0567     Maine           Lease
                                                                  LLC

                                                                  Avangrid
OCS-A    Gulf of         Commercial
                                          Wind        2024        Renewables,         Active
0568     Maine           Lease
                                                                  LLC
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 Lease
                                Authorization                        Lease
 or           Lease or                              Resource                      Lessee or
                                Resource                             Effective                         Status
 Grant        Grant Page                            Type                          Grantee
                                Type                                 Year
 Number

 OCS-P        PacWave           Research            Marine                        Oregon State
                                                                     2021                              Active
 0560         South             Lease*              Hydrokinetic                  University

                                                                                  RWE Offshore
 OCS-                           Commercial
              California                            Wind             2023         Wind Holdings,       Active
 P 0561                         Lease
                                                                                  LLC

                                                                                  California
 OCS-                           Commercial
              California                            Wind             2023         North Floating       Active
 P 0562                         Lease
                                                                                  LLC

 OCS-                           Commercial                                        Equinor Wind
              California                            Wind             2023                              Active
 P 0563                         Lease                                             US LLC

 OCS-                           Commercial                                        Golden State
              California                            Wind             2023                              Active
 P 0564                         Lease                                             Wind LLC

                                                                                  Invenergy
 OCS-                           Commercial
              California                            Wind             2023         California           Active
 P 0565                         Lease
                                                                                  Offshore LLC

 OCS-G        Gulf of           Commercial                                        RWE Offshore
                                                    Wind             2023                              Active
 37334        America           Lease                                             US Gulf, LLC


*non-competitive lease

Lease and Grant Administration
BOEM maintains a series of forms related to the administration of BOEM leases and grants on the Outer
Continental Shelf. These forms are available on the BOEM OCS Operation Forms webpage.

BOEM Auction System
BOEM will begin using a new auction system for sales in 2024. Information on the rules and login
procedures can be found below:

   Auction Procedures for the Upcoming 2024 Offshore Wind Lease Sales, Version 1
   Auction Login and Authentication Procedures
   BOEM Auction System Tutorial - (Please note that the file should be downloaded to get the full
   presentation & animation experience with presenter view to have voiceover text on screen for accessibility.)
      Video transcript
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   Question and Answer on the BOEM Auction
   System                                   BOEM Auction System Bidding Tutorial

Leasing Studies/Reports
BOEM has studied different auction systems for
issuing renewable energy leases, easements, and
rights-of-way on the Outer Continental Shelf
(OCS). BOEM issued a contract to Power Auctions,
LLC to study different types of auctions for this
purpose. BOEM published the study in three
parts, and is available at the links below:

   Auction Design For Wind Rights
   Multiple Factor Auction Design for Wind Rights
   Comparison of Auction Formats for Auctioning Wind Rights

BOEM also published a paper (Summary of Renewable Energy Auction Formats under Consideration by
BOEM) to facilitate public comment on auction format options, as presented in the Auction Format
Information Request (AFIR) published by BOEM in the Federal Register on December 2, 2011.

Operating Fee
Addendum B in each commercial lease provides instructions for calculating the Operating Fee once a
project begins commercial operations. The first spreadsheet below includes the wholesale power prices
BOEM will use to validate Operating Fee payments. The second spreadsheet provides an Operating Fee
calculation template.

   Power Prices for Operating Fee Calculations
   Lease Data Sheet Calculation Template
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                               EXHIBIT C
                 Notice for Vineyard Mid-Atlantic Meetings
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Virtual Public Meetings Cancelled for
Vineyard Mid-Atlantic Offshore Wind
Project
02/04/2025

                                                                            Contact(s)
                                                                          Alison Ferris
                                                                        (202) 230-3849

On Jan. 15, 2025, the Bureau of Ocean Energy Management (BOEM) published a Notice
of Intent (NOI) in the Federal Register to prepare an Environmental Impact Statement
(EIS) for a Construction and Operations Plan submitted by Vineyard Mid-Atlantic, LLC.
The publication of the NOI opened a 45-day public comment period.

The Department of the Interior and BOEM are implementing President Trump’s
memorandum temporarily halting offshore wind leasing on the Outer Continental
Shelf. The memorandum also pauses new or renewed approvals, rights-of-way,
permits, leases, or loans for offshore wind projects pending a review of federal wind
leasing and permitting practices.

As a result, the February virtual public meetings on BOEM’s NOI to prepare an EIS for
the proposed Vineyard Mid-Atlantic Project have been cancelled.

For those who intended to provide public comment, written comments can still be
submitted at www.regulations.gov under Docket No. BOEM-2025-0002 until the public
comment period closes on March 3rd, 2025.

For more information about the Vineyard Mid-Atlantic project, visit BOEM’s website.

                                      -- BOEM --

 The Department of the Interior’s Bureau of Ocean Energy Management (BOEM) manages
    development of U.S. Outer Continental Shelf (OCS) energy, mineral, and geological
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     resources in an environmentally and economically responsible way.
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                               EXHIBIT D
        Notice Postponing Meeting for California Offshore Wind PEIS
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POSTPONED: Public Meetings on Draft
Environmental Review of Potential
Mitigation of Future Development of
Wind Lease Areas Offshore California
01/28/2025 Camarillo, CA

                                                                            Contact(s)
                                                                         John Romero
                                                                        (805) 384-6324


                 ** VIRTUAL MEETINGS POSTPONED **
  Virtual public meetings on the Bureau of Ocean Energy Management’s draft
  Programmatic Environmental Impact Statement (PEIS) for Potential Mitigation of
  Future Development of Wind Lease Areas Offshore California have been
  postponed. We will provide additional information as it becomes available.

  For those who intended to provide public comment today, please submit those
  comments in writing to regulations.gov, docket No. BOEM-2023-0061.

  The Department of the Interior and the Bureau of Ocean Energy Management are
  implementing the Administration’s Presidential Memorandum (PM) temporarily
  halting offshore wind leasing on the Outer Continental Shelf. The PM also pauses
  new or renewed approvals, rights-of-way, permits, leases, or loans for offshore
  wind projects pending a review of federal wind leasing and permitting practices.

  For information on BOEM’s current offshore wind activities in California, please go
  to www.boem.gov/California.
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Reminder: Public Meetings on Draft Environmental Review of
 Potential Mitigation of Future Development of Wind Lease
                 Areas Offshore California
On Nov. 13, 2024, the Bureau of Ocean Energy Management (BOEM) announced the
notice of availability (NOA) of a draft Programmatic Environmental Impact Statement
(EIS) that assesses the potential mitigation of future development associated with the
five offshore wind lease areas off California’s central and north coasts.

The NOA initiated a 90-day public comment period that ends at 11:59 p.m. Eastern
Time on February 12, 2025. During the public comment period, BOEM is hosting two
virtual public meetings to allow the public to learn more about the draft Programmatic
EIS, ask questions, and provide oral testimony.

                                      -- BOEM --

 The Department of the Interior’s Bureau of Ocean Energy Management (BOEM) manages
    development of U.S. Outer Continental Shelf (OCS) energy, mineral, and geological
           resources in an environmentally and economically responsible way.
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                             EXHIBIT E
                   May 19, 2025 Order to Empire Wind
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                   United States Department of the Interior
                         BUREAU OF OCEAN ENERGY MANAGEMENT
                              WASHINGTON, DC 20240-0001

                        Amendment to Director’s Order of April 16, 2025
                                       May 1, 2025

Matthew Brotmann
Secretary
Empire Offshore Wind LLC
120 Long Ridge Road, Suite 3E01
Stamford, Connecticut 06902

Dear Mr. Brotmann,

On April 16, 2025, the Bureau of Ocean Energy Management issued a Director’s Order to
Empire Offshore Wind LLC to halt all ongoing activities related to the Empire Wind Project on
the outer continental shelf. That Order is hereby amended to lift the halt on activities during the
ongoing review.

If you have any questions, please contact David Diamond, Deputy Chief for Operations, Office
of Renewable Energy Programs, at 703-787-1660 or david.diamond@boem.gov.

                                                  Sincerely,
                                                   WALTER            Digitally signed by WALTER
                                                                     CRUICKSHANK
                                                   CRUICKSHANK       Date: 2025.05.19 16:19:25 -04'00'


                                                  Walter D. Cruickshank
                                                  Acting Director
